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       ADDENDUM A TO PELUSO PRO HAC VICE APPLICATION

      Patrick H. Peluso has been admitted to practice before the following Courts.
Mr. Peluso is active and in good standing in all such Courts.

Title of Court                                                 Date of Admission

Colorado Supreme Court (Bar # 47642)                           11/3/2014

U.S. Court of Appeals for the Ninth Circuit                    8/30/2018

U.S. Court of Appeals for the Eleventh Circuit                 7/30/2019

U.S. District Court for the District of Colorado               1/5/2015

U.S. District Court for the Western District of Wisconsin      6/15/2016

U.S. District Court for the District of New Mexico             6/20/2016

U.S. District Court for the Eastern District of Michigan       11/28/2017

U.S. District Court for the Northern District of Illinois      2/22/2018

U.S. District Court for the Southern District of Illinois      3/14/2019

U.S. District Court for the Eastern District of Wisconsin      1/23/2020
